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                        EXHIBIT C
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                                                                         Page 1
       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     NO. 13-465 C
                 (FILED FEBRUARY 26, 2014)


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FAIRHOLME FUNDS, INC., ET AL

VS.                                     RCFC 12(b); RCFC 12(b)(6);
                                        RCFC 56(d)
THE UNITED STATES
-----------------------------x
        PROTECTED INFORMATION ONLY TO BE DISCLOSED

               IN ACCORDANCE WITH PROTECTIVE ORDER

             ORAL DEPOSITION OF MS. SUSAN MCFARLAND

                             HOUSTON,    TEXAS

                             JULY 15TH, 2015

                                 10:01 A.M.




Reported By:
SAMANTHA DOWNING, CSR
JOB NO. 39652
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                                                                           Page 50
 1   same request to the Government, that to the extent the

 2   Government has a copy of this document, I don't believe

 3   it's been provided to us.        Again, I apologize if I am

 4   wrong, but I don't have knowledge of all the pages.               But

 5   it's not one that I have seen.

 6                     I would just request if you could ask

 7   your client, Treasury, whether they have the document,

 8   whether it's been produced, whether privilege has been

 9   asserted, which I can't imagine since Fannie was there.

10                     Will you take that back to your client?

11                     MR. LAUFGRABEN:      I will take it under

12   advisement.

13                     MR. THOMPSON:      Thank you.     I appreciate

14   that.

15       Q.    (BY MR. THOMPSON)       Okay.    And did you have

16   internal -- so you had a PowerPoint presentation you

17   used at the meeting.

18                     Did you have also have any internal

19   documentation that was provided to you in preparation of

20   the meeting?

21       A.    Well, in the sense that I was reviewing actual

22   results and forecasts, there's a lot of documentation

23   that I looked at on both of those to get comfortable and

24   ultimately sign off on the financials and sign off on

25   the 10-Q --
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                                                                           Page 51
 1       Q.      Yes.

 2       A.      -- as well as approve the forecast.          So -- and

 3   that's just part of the standard process of preparing

 4   actuals and preparing forecasts.

 5       Q.      And sorry if I am not being clear.

 6                      But I am just asking, when you went into

 7   this quarterly meeting with Treasury, would typically

 8   someone on your staff provide you with either a briefing

 9   book or some background materials that would be more

10   detailed than the PowerPoint you would hand out to

11   Treasury?

12       A.      Well, in the normal course of preparing our

13   actual results, there's a whole process for closing the

14   books, reviewing the results, and preparing the 10-Qs.

15                      And so the information contained in the

16   PowerPoint from the actual results are ultimately pulled

17   from -- they're basically summarizations, very

18   high-level summarizations of results that come from that

19   standard process that exists to, you know, approve our

20   actuals.

21                      So it wasn't like I needed a separate

22   briefing book for that.       I already had that information

23   available to me in the normal course of my job and

24   responsibilities to, you know, close the books, and sign

25   off on the results and file our Q.
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                                                                           Page 170
 1                     (McFarland Exhibit No. 23 was marked.)

 2       A.    Okay.

 3       Q.    (BY Mr. THOMPSON)       So this is a memo to you

 4   dated August 8th, 2012.       Re:    Media interviews on the

 5   second quarter 2012 financial results.

 6                     And is this coming from your

 7   Public Relations Department?

 8       A.    Yes.

 9       Q.    Okay.    And if we turn to the second page at the

10   bottom of it, the last bullet point says, "While our

11   financial results each quarterly are significantly

12   affected positively or negatively by macroeconomic

13   factors outside our control, we manage our business in a

14   manner that positions Fannie Mae to provide value to

15   taxpayers."

16                     Do you know why this document would say

17   that Fannie's being operated in a manner that positions

18   it to provide value to taxpayers as opposed to

19   shareholders?

20                     MR. LAUFGRABEN:      Object to the form of

21   the question; lack of foundation, calls for speculation.

22       A.    This document -- so as I prepped for the calls

23   with media, I tried to do a couple of keys things.

24                     Clearly I had been involved in the review

25   and approval of the 10-Q itself, familiar with our
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                                                                           Page 171
 1   financial results.      But I wanted to make sure that from

 2   that I -- we tried to anticipate the types of questions

 3   we might get and how we might answer them if those

 4   questions are asked.      So you're doing a little bit of

 5   advanced thinking on that.

 6                     And so a document would be prepared to

 7   kind of pull forward, you know, what some of those key

 8   questions -- I am assuming some of the redacted is it

 9   was questions we thought we might get asked about the

10   actual results of the quarter and how we might respond

11   to those questions.      Obviously it's all redacted, so I

12   don't know the detail in here.         This is kind of an

13   internal-type prep document.

14                     I also, in addition to that, tried to

15   say, are there a handful of -- you know, one, two --

16   three key messages I wanted to try to convey or get

17   across.   These calls are generally 10 minutes in length.

18   They're not lengthy.      So is there any messaging that we

19   want to make sure or we want to be clear on.             I want to

20   be correct and accurate and appropriate in how I depict

21   things, so it's important that you think through how you

22   convey that information perspective.

23                     So that's kind of what this document is

24   all about.    And the PR people might propose how I might

25   respond to something.       I may -- lock, stock, and barrel,
